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                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801

In Re:                                                     Chapter: 11
Lordstown Motors Corp.

 EIN: 83−2533239                                           Case No.: 23−10831−MFW
DiamondPeak Holdings Corp.
                                                           Claim No.* (if known): 757
                                                           Amount (if known): $63,946.22



                                      NOTICE OF TRANSFER OF CLAIM

To IEE S.A. Claimant/Transferor:

       YOU ARE HEREBY NOTIFIED that on 1/5/2024, a Transfer of Claim was filed with this Court purporting to
transfer to Cedar Glade LP, Transferee, a claim previously filed by you.

       Any objection to this Transfer must be in writing and filed with the Clerk at the address below within (21) days
of the date of this Notice, and a copy served on the Transferee. If no objection is timely received by the Court, the
Transferee will be substituted as the original claimant without further order of the Court.

Clerk of Court                                     Transferee
United States Bankruptcy Court                     Cedar Glade LP
District of Delaware                               600 Madison Avenue, 17th Floor
824 Market Street                                  New York, NY 10022
Wilmington, DE 19801                               Attn: Robert K. Minkoff, President




Dated: 1/11/2024

                                                                           Una O'Boyle, Clerk of Court


*Claim no. as assigned by the Court, which may be different from the claim no. as assigned by the Trustee.
